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                                                      #:5900




                                          UNITED STATES DISTRICT COURT
                                         CENTRAL DISTRICT OF CALIFORNIA
                                                                  CASE NUMBER:
Hidden Empire Holdings, LLC., et. al.,
                                                                              CV-22-06515-MWF (AGRx)
                                                   Plaintiff(s)
                               v.

Darrick Angelone, et. al.,
                                                                   MOTION RE: INFORMAL DISCOVERY DISPUTE
                                                 Defendant(s)



The parties have requested an informal discovery conference with Magistrate Judge Alicia G. Rosenberg          .
Counsel for each party has submitted their respective positions and the issue will be adjudicated in accordance
with the Magistrate Judge's procedures.


   No Hearing Required              Hearing Required
                                    In-Person Court Hearing
                                    Video Conference
                                    Telephonic


Magistrate Judge Alicia G. Rosenberg

Date/Time             Tuesday, May 27, 2025 at 1:30 p.m. PT

Courtroom:           Zoom (www.cacd.uscourts.gov/honorable-alicia-g-rosenberg)




 Dated:            May 27, 2025                                         By:               kl
                                                                                    Deputy Clerk




CV-19 (11/21)                            MOTION RE: INFORMAL DISCOVERY DISPUTE                          Page 1 of 1
